






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,026




EX PARTE PETE LAVARD RICHARDSON, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 1044020 IN THE 184TH DISTRICT COURT
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of compelling
prostitution and sentenced to life imprisonment.  The First Court of Appeals affirmed his conviction.
Richardson v. State, No. 01-06-00004-CR, (Tex. App.–Houston [1st] delivered May 31, 2007).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his appellate counsel rendered ineffective assistance because counsel
failed to timely notify Applicant that his conviction had been affirmed. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellate counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
has entered findings of fact and conclusions of law that appellate counsel failed to timely notify
Applicant that his conviction had been affirmed.  The trial court recommends that relief be granted. 
Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).  We find, therefore, that Applicant is
entitled to the opportunity to file an out-of-time petition for discretionary review of the judgment of
the First Court of Appeals in Cause No. 01-06-00004-CR that affirmed his conviction in Case No.
1044020 from the 184th Judicial District Court of Harris County.  Applicant shall file his petition for
discretionary review with the First Court of Appeals within 30 days of the date on which this Court’s
mandate issues.
&nbsp;
Delivered: November 5, 2008
Do not publish


